Case 6:24-cv-00457-PGB-RMN Document 37-10 Filed 04/01/24 Page 1 of 11 PageID 1009

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

JENNIFER SMITH,
Plaintiff,
CASE NO: 6:24-cv-00457-PGB-RMN
FLORIDA AGRICULTURAL &
MECHANICAL UNIVERSITY
BOARD OF TRUSTEES,

Defendant.
/

SUPPLEMENTAL DECLARATION OF JENNIFER SMITH

i I am Jennifer Smith. I am over the age of eighteen (18) years of age
and competent to make this Declaration upon my own personal knowledge and
belief.

2D, I began working for Defendant, Florida Agricultural & Mechanical
University (FAMU), in May 2004, with an official start date of August 8, 2004, as
a tenured track associate protean. I received a unanimous vote in April 2004 to
join the faculty, which was not long after the College of Law re-opened, and thus,
many of the initial employment contracts for law faculty were incorrect, including
mine. My contract was corrected for me initially in 2005. (Ex. 1) I also received a

grant of money in 2004 for the time I spent working unpaid from May-August
Case 6:24-cv-00457-PGB-RMN Document 37-10 Filed 04/01/24 Page 2 of 11 PagelD 1010

2004 to help start up the law clinics. (Ex. 2)

3. Since being hired, I performed the duties of a law professor and was
subject to the direction and control of Defendant.

4. Tama tenured full professor and have been since 2016.

5. I was successfully advancing in an interview process for a position
with another company until it learned of my issue with FAMU. All
communications stopped from that point forward.

6. | FAMU recently named an interim dean of the law school and given its
unlawful abridgement of my rights, I could not have been considered for this
position or other interim leadership positions at FAMU’s law school.

7. T have a solo law firm, but no clients. I occasionally assist pro bono
clients in need, but who are indigent.

8. I was paid well beyond the alleged termination date of J anuary 30,
2024, and was listed as an employee on the FAMU website until March 20, 2024.

9. Professor Maritza Reyes was hired at FAMU with my
recommendation. I knew Professor Reyes from working at the same law firm.
Professor Reyes’ employment there was short and unsuccessful. I knew that but
believed that Professor Reyes may thrive in a different environment.

10. Professor Reyes filed a 92-page complaint in federal court against

FAMU in August 2022 (6:22-cv-01525-WWB-DCI).
Case 6:24-cv-00457-PGB-RMN Document 37-10 Filed 04/01/24 Page 3 of 11 PageID 1011

11. Professor Reyes’ complaints have been dismissed without prejudice
twice.

12. Professor Reyes’ Second Amended Complaint is pending and is
facing another motion to dismiss.

13. On November 13, 2023, Professor Reyes filed her “Response To
Defendant’s Motion To Dismiss With Prejudice Plaintiff's Second Amended
Complaint, Or In The Alternative, Motion To Strike,” in which she mentioned my
state court complaint that I had filed on October 17, 2023 but had not served on
FAMU.

14. Professor Reyes’ Second Amended Complaint is 96 pages with 303
paragraphs of allegations, dating back 15 years. In the complaint, she takes issue
with numerous law faculty members of all races, national origins, and genders; law
deans; staff members at the law school; and staff members and administrative
personnel at FAMU’s main campus in Tallahassee, including the FAMU president,
provost and general counsel.

15. I reviewed SUS public materials. I am also aware that the faculty
person with the most experience teaching Constitutional Law is Professor Patricia

Broussard (F), who earns significantly less than all the male faculty. A summary of

my findings are below:!
Case 6:24-cv-00457-PGB-RMN Document 37-10 Filed 04/01/24 Page 4 of 11 PageID 1012

Name/Gender Courses Taught | Title Salary

Patricia Broussard (F) | Con. Law Full Prof $154,823
Karen Consalo (F) Con. Law Asst Prof $108, 150
Comparator (M) Con. Law Full Prof $167,272
Jeremy Levitt (M) Con. Law Full Prof/Dist’d | $199,405
LeRoy Pernell (M) Con. Law Full Prof $189,283

16. Based on my work alongside Professor Broussard for nearly twenty
years, I know Professor Broussard has been teaching Constitutional law for 19
years at the College of Law (at least once every semester). Professor Broussard
writes on the subject matter and has been on the news and panels on Constitutional
Law issues. Professor Broussard has submitted two United States Supreme Court
briefs on Constitutional Law in Shelby County v Holder and Gratz v. Bollinger,
given accolades by Eric Holder (former U.S. Attorney General), John Peyton, Esq.,
and John Due, Esq. for her work on Constitutional Law. Professor Broussard
spoke to the State Department invited by Colin Powell to speak on Martin Luther
King, Jr.’s birthday while teaching at Howard University School of Law on civil
rights. Professor Broussard is constantly recognized as professor of the year at the
College of Law, and she always has by far the most law students enrolled in her

Constitutional Law classes than any of the male professors. Her student
Case 6:24-cv-00457-PGB-RMN Document 37-10 Filed 04/01/24 Page 5 of 11 PagelID 1013

evaluations consistently exceed those of her male colleagues.

18. My Comparator was hired in 2021. My Comparator was not initially on
the spring 2023 schedule for Constitutional Law, but his placement to teach
Constitutional Law came right as FAMU had to respond to my Equal Employment
Opportunity Commission (EEOC) complaint, and his teaching of that course
became FAMU’s reason for his higher salary.

19. On March 18 and 20, 2024, I emailed Antoneia Roe, Esq. regarding my
Step One Meeting and follow-up. Although she had responded to my emails
before, she did not respond to my emails asking whether she received my email
and documents.

VERIFICATION

I verify under penalty of perjury that the foregoing is true and correct.

Executed on April 1, 2024.

\_ Jennifer Smith

' State University System (SUS) of Florida Has a Right to Know, available at
https://prod. flbog.net:4445/pls/apex/f?p=140:1:0:
Case 6:24-cv-00457-PGB-RMN Document 37-10 Filed 04/01/24 Page 6 of 11 PagelD 1014

Hlorita Agricultural and Mechanical Aniversity

COLLEGE OF Law
TELEPHONE: {407) 254.3268
FAX. (407) 254632313
ONE NORTH ORANGE AVENUE
ORLANDO, FLORIDA 32801
MAILING ADDRESS:
PO, BOX 3113
ORLANDO, FLORIDA, 32802-3113 May 10, 2004
PLAINTIFF'S
| EXHIBIT
Ms. Jennifer Smith l

Dear Ms. Smith:

This letter simply confirms the summary of our telephone conversations during
April 2004, We are in the process of preparing the hiring package to forward to the Vice
President for Academic Affairs and Provost Larry Robinson. This documentation,
including your employment application and supporting materials, recommends that you
be hired as an Associate Professor on tenure track by Florida A&M University College of
Law for the 2004-05 academic year.

We are recommending a salary of $100,000 for a nine month contract as an
Associate Professor on tenure track beginning in August 2004. You will be eligible for
research grants or teaching contracts each summer.

I know that we had discussed a higher salary, but that salary is not possible within
the framework of our current salary structure. | realize that this would be a deal breaker;
the higher salary would be too disruptive to the collegiality of our faculty.

The College of Law is also recommending the payment for up to 15,000 pounds
of moving expenses. The official employment contract must be issued by Vice President
and Provost Robinson.

FAMU IS AN EQUAL OPPORTUNITY/EQUAL ACCESS UNIVERS Ty
said Case 6:24-cv-00457-PGB-RMN Document 37-10 Filed 04/01/24 Page 7 of 11 PagelD 1015

FLORIDA AGRICULTURAL AND MECHANICAL UNIVERSITY
RECOMMENDATION FOR FACULTY EMPLOYMENT

Position #@teae Date: July 27, 2005
“ E&G  Grant-N/A
From: COLLEGE/SCHOOL College of Law DIVISION Ai air
Name of Employee Jennifer M. Smith Social Security Number gga ay
Dareof Birth @imaheeae y Black Sex Female
Home Address @iggeina: IAC Cane. BD Home Phone ego r ae . VFI .
Campus Mailing Address One N North Oe Avenue, Orlando, Florida 32801 Campus Phone 407-254-3 268
Highest Degree Juris Doctorate Date of Degree May 10, 1992
FTE 1.00 Position Title Visitin i Assistant Professor Class Code 2003 Professional Rank Visitino As istant Professor
Academic Discipline - Law Tenured Eaming Tenure - X Not Eligible for Tenure
Biweekly Salary Rate $1,875.00 Annual Salary Rate § 12.000.000
Grant Number N/A Grant Expiration Date N/A
Period of Appointment May 09, 2005 ~ August 4, 2005 Type of Appointment: Summer 2005 ~ Scholarly Research Grant
Comptroller’s Account Number 230100001 _
Assigned Duties:
Teaching % % of time will be devoted to Grant #
Academic % % of time will be devoted to Grant #
Advisement
Public Service % Pay status (working) from to
Research 1.00% and from to Non-pay status
Administrative % (not working) from to and from
Other Inst. Effort % to ___. This position is located in county.
TOTAL 1.00%

This individual (is/is not) employed ay another State agency.

PERSONNEL/PAYROLL USE ONLY

No. Withholding Exp, Marital Status Retirement Code
Social Security State Health Insurance Pay Grade
Yes / No Yes/No
SIGNATURE DATE
Nee ts ;
fr, Jey 23 SJos
Contracts and Grants Officer

Vice President for Academic Affairs
' ' AAS3/98
Case 6:24-cv-00457-PGB-RMN Document 37-10 Filed 04/01/24 Page 8 of 11 PagelID 1016

FLORIDA AGRICULTURAL AND MECHANICAL UNIVERSITY
RECOMMENDATION FOR FACULTY EMPLOYMENT

Position AD6@36, Date: August 16, 2005 - REVISED
¥ E&G ~ Grant-N/A

From: COLLEGE/SCHOOL College of Law _ DIVISION Academic Affairs

Name of Employee Jennifer M, Smith Social Security Number ace

Dare of Birth SiggnoeegaNGhty Race Black Sex Female

Home Address ADCS: FI. Home Phone ADT IG

Campus Mailing Address One North Orange Avenue, Orlando, Florida 32801 Campus Phone 407-254-3268
Highest Degree Juris Doctorate "Date of Degree May 10, 1992

FTE 1.00 Position Title Associate Professor Class Code 2002 Professional Rank Associate Professor
Academic Discipline - Law Tenured Earning Tenure - X Not Eligible for Tenure
Biweekly Salary Rate $5,312.82 Annual Salary Rate $103,600.00

Grant Number N/A Grant Expiration Date N/A

Period of Appointment August 8, 2005 — May 6, 2006 Type of Appointment: Regular

Comptroller’s Account Number 230200001

Assigned Duties:

Teaching 66% % of time will be devoted to Grant #

Academic 08% % of time will be devoted to Grant #

Advisement

Public Service .09% Pay status (working) from io

Research 17% and from to Non-pay status

Administrative % (not working) from to and from

Other Inst. Effort % to . This position is located in county,
TOTAL 1.00%

This individual (is/is not) employed ay another State agency,

PERSONNEL/PAYROLL USE ONLY

No. Withholding Exp. Marital Status i Retirement Code eter
Social Security State Health Insurance Pay Grade

Yes/No Yes /No
SIGNATURE DATE

ea Chairperson

Qs? MD ek — B- pA OS

Iyterirs Dean

Contracts and Grants Officer

Vice President for Academic Affairs
’ : AA:3/98

~
Case 6:24-cv-00457-PGB-RMN Document 37-10 Filed 04/01/24 Page 9 of 11 PagelD 101 Page | or.

JENNIFER.SMITH
From: Lundy Langston [lundy.langston@famu.edu] Sent: Tue 11/23/2004 12:21 pM
To: JENNIFER.SMITH
Ce:
Subject: RE: Summary provided to RPT Committee
Attachments:
Thanks. Lundy —
-----Original Message-----

From: JENNIFER.SMITH [mailto:JENNIFER.SMITH@famu.edu]
Sent: Monday, November 22, 2004 6:07 PM

To: LUNDY.LANGSTON

Subject: RE: Summary provided to RPT Committee

Lundy: | just put a summary of the work in your inbox. | am not sure how the money is defined (grant??). Hope to do
lunch soon. Jen

Jennifer M, Smith

Associate Professor of Law

Florida A&M University College of Law
1 North Orange Avenue

Orlando, Fl. 32801

407-254-3256 (phone)
407-254-3243 (facsimile)
Jennifer.smith@famu.edu

Jensmithesq@aol.com

From: Lundy Langston [mailto:lundy.langston@famu.edu]
https://fammaild.famu.edu/exchange/JENNIFER. SMITH/Inbox/RE:%20Summary%20provided%20to%... 11/23/2004
Case 6:24-cv-00457-PGB-RMN Document 37-10 Filed 04/01/24 Page 10 of 11 PagelD 10 Page 2 of :

Sent: Mon 11/22/2004 2:04 PM
To: JENNIFER.SMITH
Subject: RE: Summary provided to RPT Committee

Please provide a summary of your work on the project. Thanks. Are you in? lundy

a Original Message-----

From: JENNIFER.SMITH [mailto: JENNIFER.SMITH@famu.edu]
Sent: Monday, November 22, 2004 1:59 PM

To: DORANNE.RIGGIO

Cc: LUNDY.LANGSTON

Subject: RE: Summary provided to RPT Committee

Sorry. My contract began in August, but | did receive $10k for the summer for setting up the clinic and assisting
in writing the HUD housing grant. Thanks.

Jennifer M. Smith

Associate Professor of Law

Florida A&M University College of Law
1 North Orange Avenue

Orlando, FL 32801

407-254-3256 (phone)
407-254-3243 (facsimile)

Jensmithesq@aol.com

From: DORANNE.RIGGIO

Sent: Mon 11/22/2004 10:05 AM
To: JENNIFER.SMITH

Ce: LUNDY.LANGSTON

Subject: Summary provided to RPT Committee
https://fammaild.famu.edu/exchange/JENNIFER.SMITH/Inbox/RE:%20Summary%20provided%20to%... 11/23/2004
Case 6:24-cv-00457-PGB-RMN Document 37-10 Filed 04/01/24 Page 11 of 11 PagelD 101Rage 3 of:

This email is sent at the request of Professor Langston:
This is in reference to the summary you provided to the RPT Committee.

Question #1 requires a response if you either received a summer grant/stipend or if your contract
began prior to August 8th.

Please provide this information to me as soon as possible.

Thank you.

https://fammaild.famu.edu/exchange/JENNIFER. SMITH/Inbox/RE:%20Summary%20provided%20to%... 11/23/2004
